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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


MIKE KLOPPEL and ADAM WILSON, on
behalf of themselves and all other persons
similarly situated,

                     Plaintiffs,             Civil Action No. 6:17-cv-06296-FPG

                     v.
                                             ELECTRONICALLY FILED
SEARS HOLDINGS CORPORATION;
SEARS, ROEBUCK & COMPANY; and
HOMEDELIVERYLINK, INC.,

                    Defendants.


              DEFENDANTS SEARS HOLDINGS CORPORATION
          AND SEARS, ROEBUCK AND CO.’S REPLY MEMORANDUM
        OF LAW IN FURTHER SUPPORT OF THEIR MOTION TO DISMISS




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       Defendants Sears Holdings Corporation and Sears, Roebuck and Co. (incorrectly

identified in the First Amended Complaint as Sears, Roebuck & Company) (together, “Sears”)

respectfully submit this Reply Memorandum of Law in Further Support of Their Motion to

Dismiss Plaintiffs Mike Kloppel and Adam Wilson’s (“Plaintiffs”) First Amended Complaint

(“Amended Complaint”), as it relates to Sears, for failure to state a claim upon which relief can

be granted.

I.     INTRODUCTION

       Sears’s Motion to Dismiss is premised on a simple proposition: that Plaintiffs’ Amended

Complaint does not allege a single fact as to Sears that could give rise to a claim for relief

against Sears. See generally Sears’s Memorandum of Law in Support of its Motion to Dismiss,

Dkt. 13 (“Opening Br.”). Plaintiffs admit this point, stating that “Sears is not alleged to have

directly participate[d] in the alleged violations.” Plaintiffs’ Response to Sears’s Motion to

Dismiss, Dkt. 23 (“Pls.’ Resp.”) at 26. Consequently, instead of identifying a factual allegation

that suggests that Sears violated the law, Plaintiffs devote the majority of their Response to

arguing that they have adequately alleged that Sears, along with HomeDeliveryLink, Inc.

(“HDL”), was their “joint employer” – a claim that Sears has not challenged, though vehemently

denies1 – and make several arguments based on their misguided belief that merely alleging joint

employment status is sufficient to impute each of their allegations that HDL violated the law to

Sears. Plaintiffs’ arguments fail for several reasons.

       First, Plaintiffs argue that any entity that jointly employs a worker is liable for any

alleged illegal employment action taken by the other joint employer. That is simply not the law.

See Amaya v. Garden City Irrigation, Inc., 645 F. Supp. 2d 116, 122–23 (E.D.N.Y. 2009) (“[A]


1
 For purposes of this Motion only, Sears accepts as true the premise that Sears jointly employed
Plaintiffs.
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finding that two companies are an employee’s ‘joint employers’ only affects each employer’s

liability to the employee for their own actions, not for each other’s actions.” (emphasis added)

(internal citations omitted)); Sosa v. Medstaff, Inc., No. 12 CIV. 8926 NRB, 2013 WL 6569913,

at *3 (S.D.N.Y. Dec. 13, 2013) (granting defendant’s motion to dismiss Title VII claim because

“the conduct of one [joint] employer cannot necessarily be imputed to the other” (emphasis

added)).

       Second, Plaintiffs ask this Court to ignore their failure to plead that they are contractually

owed the wages they seek – despite routine dismissal by courts of Article 6 of the New York

Labor Law (“NYLL”) claims for such a failure. Without citing any authority for their novel

proposition, Plaintiffs argue that this rule, which has been endorsed by the Second Circuit and

the New York Appellate Division, should not apply in cases where joint employment status is

pled. Alternatively, Plaintiffs say that they have pled a contractual right to the wages sought

because they have pled that they are “third-party beneficiaries” to a contract between Sears and

HDL. But there is not a single allegation in the Amended Complaint to suggest that Plaintiffs are

even mentioned in – let alone the intended beneficiaries of – any such contract. Lastly, and

again alternatively and without any supporting authority, Plaintiffs posit that this Court should

narrow the well-settled rule and hold that it applies only in cases in which the plaintiffs seek

commissions and bonuses.

       Third, Plaintiffs fail to respond to Sears’s argument that their unjust enrichment claim is

wholly derivative of their NYLL statutory claims and, therefore, fails for the same reasons.

       Accordingly, and as set forth in detail below and in Sears’s Opening Brief, Plaintiffs’

claims must be dismissed.




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II.    ARGUMENT

       A.      Plaintiffs’ Joint Employment Allegations Do Not Relieve Them Of Their
               Burden To Allege Facts Sufficient To State A Claim For Relief Against
               Sears.

       Plaintiffs’ “Point I” and “Point III,” taken together, can be distilled as follows: Plaintiffs

“have adequately plead [sic] Sears was their joint employer” (Pls.’ Resp. at 15) and, therefore,

Sears “can be held ‘jointly and severally’ liable for Co-Defendant HDL’s direct statutory

violations.” Point III, Pls.’ Resp. at 28. Neither Point relieves Plaintiffs of their obligation to

allege facts that Sears participated in the alleged violations.

       As an initial matter, Plaintiffs’ argument that they have adequately alleged that Sears was

their joint employer is nothing more than an irrelevant smoke screen. Sears did not move to

dismiss Plaintiffs’ claims because of their failure to plead joint employment. Rather, Sears

moved to dismiss Plaintiffs’ wage deductions and kick-backs claims against Sears because the

only factual allegations offered to support those claims relate solely to HDL. See Opening Br. at

6-8; Kone v. Joy Constr. Corp., No. 15-1328, 2016 Wl 866349, at *4 (S.D.N.Y. Mar. 3, 2016)

(dismissing NYLL Section 193 claim because plaintiff did not allege that a defendant made a

“specific deduction that constitutes the alleged violation”). Rather than counter this by

establishing that they have asserted claims against Sears, Plaintiffs actually admit that they have

failed to do so. Pls.’ Resp. at 26. Nonetheless, Plaintiffs suggest that they may keep Sears in this

lawsuit merely by pleading joint employment status. Plaintiffs are wrong.




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       Plaintiffs rely solely on inapposite cases involving minimum wage and overtime claims.

See Pls.’ Resp. at 25.2 The plaintiffs in those cases had viable claims for relief against the

purported joint employers because all employers – including joint employers – are “responsible

for assuring that [their employees] were paid the wages required by the [Fair Labor Standards

Act] and the New York Minimum Wage Act as a condition of their employment.” See, e.g.,

Ansoumana, 255 F. Supp. 2d at 195. Accordingly, by alleging that they were not paid those

required wages and that the defendants were their respective employers, the plaintiffs in those

cases had stated a claim for relief under the Fair Labor Standards Act and the New York

Minimum Wage Act.

       Here, on the other hand, there is no allegation that Sears (or HDL) failed to pay Plaintiffs

minimum wage or proper overtime compensation. Rather, Plaintiffs allege specific illegal, overt

acts taken by HDL – namely, that HDL took illegal deductions (Count I, the “wage deductions

claim”) and “kick-backs” (Count II, the “kick-backs claim”) from their wages and that HDL

failed to provide them with accurate wage statements (Count III, the “wage statement claim”).

Plaintiffs do not allege that Sears took part in, knew of, or even should have known of the

alleged illegal acts. To impose liability on Sears for these alleged illegal acts by HDL would

create a rule that a company is strictly liable for the alleged employment law violations of any

entity with which it jointly employs individuals. Courts in this Circuit and outside it have

uniformly and expressly rejected such a rule. See Amaya, 645 F. Supp. 2d at 122-23 (“[A]



2
  Ansoumana v. Gristede’s Operating Corp., 255 F. Supp. 2d 184, 185 (S.D.N.Y. 2003) (alleging
failure to pay minimum wage and overtime); Paz v. Piedra, No. 09CIV03977LAKGWG, 2012
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overtime); Wade v. Woodland Commons, LLC, No. 1:09-CV-1426, 2012 WL 929839, at *1
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Corp., 537 F.3d 132, 136 (2d Cir. 2008) (alleging failure to pay overtime); Teri v. Spinelli, 980
F. Supp. 2d 366, 368 (E.D.N.Y. 2013) (alleging failure to pay overtime).
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finding that two companies are an employee’s ‘joint employers’ only affects each employer’s

liability to the employee for their own actions, not for each other’s actions.” (internal citations

omitted) (emphasis added)); Sosa, 2013 WL 6569913, at *3 (granting defendant’s motion to

dismiss Title VII claim because “the conduct of one [joint] employer cannot necessarily be

imputed to the other” (emphasis added)); Whitaker v. Milwaukee Cty., 772 F.3d 802, 811 (7th

Cir. 2014) (“[E]stablishing a ‘joint employer’ relationship does not create liability in the co-

employer for actions taken by the other employer.”); Torres-Negron v. Merck & Co., Inc., 488

F.3d 34, 41 n.6 (1st Cir. 2007) (rejecting plaintiff’s argument that joint employer should be

“strictly liable for [other joint employer’s] conduct” because “joint-employer liability does not

by itself implicate vicarious liability”); Burton v. Freescale Semiconductor, Inc., 798 F.3d 222,

228-29 (5th Cir. 2015) (holding that “merely being a ‘joint employer’ does not automatically

impose liability for employment decisions under the [Americans with Disabilities Act]” and “[a]

staffing agency is liable for the discriminatory conduct of its joint-employer client if it

participates in the discrimination, or if it knows or should have known of the client’s

discrimination but fails to take corrective measures within its control” (emphasis added)).

Indeed, in Amaya, the court explained that an allegation that the defendants were the plaintiffs’

joint employers “even if true, does not establish a unity of interest” between the defendants

because “this theory of liability leaves each defendant with an incentive to argue that the other

defendants employed plaintiffs and/or controlled the payment of wages.” Amaya, 645 F. Supp.

2d at 122-23 (emphasis added).3 Put another way, a joint employer is not liable for the



3
  The court in Amaya ultimately held that the defendants (individuals and corporate entities) did
have a unity of interest (for purposes of determining whether an amended complaint filed against
a newly added individual defendant should relate back to the original complaint) but only
because the individual defendant could be liable for the corporate entities’ legal obligations
under a corporate “veil-piercing” theory. Id. No such circumstances exist here.
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wrongdoing of its co-joint employer if the co-joint employer was solely responsible for the

wrongdoing.

        Here, Plaintiffs admit that “Sears is not alleged to have directly participate[d] in the

alleged violations.” Pls.’ Resp. at 26. Nor is Sears alleged to have indirectly participated in or

had knowledge of the alleged violations. See generally Am. Compl. Plaintiffs’ Amended

Complaint, therefore, must be dismissed as to Sears.

        B.      Plaintiffs’ Joint Employment Allegations Do Not Create A Contractual Right
                To Wages.

        Plaintiffs’ statutory claims alternatively fail because they are brought under Article 6 of

the NYLL, which requires an allegation that Plaintiffs have “a contractual right to [the] wages

sought.” Simas v. Merrill Corp., No. 02 CIV.4400 RCC, 2004 WL 213013, at *3 (S.D.N.Y. Feb.

4, 2004) (citing Tierney v. Capricorn Inv’rs, L.P., 189 A.D.2d 629, 632 (1st Dep’t 1993). The

Amended Complaint contains no such allegation. See Opening Br. at 4-5. In response,

Plaintiffs offer three arguments, each of which fail.

        First, Plaintiffs’ argue that, because the NYLL’s definition of “employer” does not

“contain a contractual requirement,” it “is of no consequence then to Plaintiffs’ NYLL claims

that there was no direct contract for wages between them and Sears because Sears is alleged to

have been a vertical ‘joint employer’ of the Plaintiffs with Co-Defendant HDL.” Pls.’ Resp. at

18. But merely being an “employer” under the NYLL is not sufficient to create liability under

Article 6 of the statute; rather, a plaintiff must allege that he or she has a contractual right to the

wages sought, and a failure to do so “necessarily precludes a statutory claim under [Article 6 of]

New York’s labor law.” Simas, 2004 WL 213013, at *3 (citing Tierney, 189 A.D.2d at 632); see

also O’Grady v. BlueCrest Capital Mgmt. LLP, 646 F. App’x 2, 4 (2d Cir. 2016) (affirming

dismissal of claim for alleged unlawful deductions under NYLL Section 193 because “[t]he


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failure of [plaintiff’s] contract claim also necessarily defeats his wage claim”). To state a viable

Article 6 claim, Plaintiffs must allege that they were employed by Sears and that they were owed

wages by Sears pursuant to a contract. Plaintiffs fail to do the latter.

       Second, Plaintiffs argue that they have adequately alleged that they are “third-party

beneficiaries under the alleged contract between Sears and HDL” and, therefore, “they have

alleged such a ‘contractual right to wages owed by Sears’ as third-party beneficiaries to the

alleged contract between Sears and HDL.” Pls.’ Resp. at 18-20. Plaintiffs, however, do not

allege that the contract “was intended for their benefit,” which Plaintiffs concede is a

requirement to establish third-party beneficiary status. Id. For example, in the case cited by

Plaintiffs – Johnson v. Carlo Lizza & Sons Paving, Inc., 160 F. Supp. 3d 605, 615 (S.D.N.Y.

2016) – the court found that the plaintiffs had adequately pled third-party beneficiary status to

contracts between the defendants and New York City only because “plaintiffs allege that [the

contracts] obligated Defendants to pay Plaintiffs . . . at or above the local prevailing wage

rates.” 160 F. Supp. 3d at 615 (emphasis added). Here, on the other hand, the only reference in

Plaintiffs’ entire Amended Complaint to the contract between Sears and HDL is as

follows: “Sears offers home delivery to its customers. To carry out its deliveries in New York,

Sears contracts with HDL and other intermediary companies.” Am. Compl. ¶ 12. The Amended

Complaint does not allege that the contract even mentions a payment to Plaintiffs. Thus, even if

Plaintiffs have pled third-party beneficiary status under this contract (which they did not) they

certainly have not pled that they are owed wages pursuant to that contract.

       Third, Plaintiffs posit a novel legal theory: that the well-established rule that Article 6

claims cannot proceed if the plaintiff has not alleged a contractual right to the wages sought

“only applies to and is implicated in cases where the plaintiff seeks to recover commissions and



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bonuses.” Pls.’ Resp. at 20. Once again, Plaintiffs misstate the law. While Plaintiffs are correct

that the rule has typically arisen in the commission and bonus context, not one case that Plaintiffs

cite suggests that it is limited to those contexts. Moreover, and tellingly, Plaintiffs do not cite a

single case in which a plaintiff has been permitted to proceed on an Article 6 claim without

alleging a contractual right to the wages sought. None exists, as the law is clear that such claims

must be dismissed. See Opening Br. at 4-5 (citing cases from the New York Appellate Division,

the Second Circuit Court of Appeals, and the Southern District of New York, all standing for the

proposition that a plaintiff bringing a claim under Article 6 must plead a contractual right to the

wages sought).

       Because Plaintiffs have not established a contractual right to the wages that they seek in

this lawsuit, their claims under Article 6 of the NYLL must be dismissed.

       C.        Plaintiffs’ unjust enrichment claim must be dismissed because it is wholly
                 derivative of their statutory claims.

       Plaintiffs do not even address Sears’s argument that their unjust enrichment claim fails

because it depends entirely on Plaintiffs’ flawed wage deductions and kick-backs claims, which,

as explained above, both fail. See Opening Br. at 9. Thus, Plaintiffs’ unjust enrichment claim

should be dismissed for the same reasons as should the statutory claims as set forth above.

       Alternatively, Plaintiffs’ unjust enrichment claim must be dismissed because such a cause

of action may only proceed in the absence of an express agreement governing the conduct at

issue. See Opening Br. at 9-10. In their Response, Plaintiffs argue that this Court permitted the

plaintiffs in a similar case to plead unjust enrichment as an alternative theory of recovery. See

Pls.’ Resp. at 28 (citing Padovano v. FedEx Ground Package System, Inc. No. 16-cv-17-FPG,

2016 WL 7056574, at * 6 (W.D. N.Y. Dec. 5, 2016)). This argument fails for two reasons.




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        First, several courts within the Second Circuit (more recently than Padovano) have made

clear that an “alternative” unjust enrichment claim must be dismissed if it is based on the same

underlying factual allegations as the plaintiffs’ other claims – which is precisely the case here.

See Gordon v. Hain Celestial Grp., Inc., No. 16-CV-6526 (KBF), 2017 WL 213815, at *7

(S.D.N.Y. Jan. 18, 2017) (“Although Rule 8(d) permits a plaintiff to plead alternative—and even

inconsistent—theories of liability, an unjust enrichment claim must be dismissed when it entirely

‘duplicates’ other tort or contract claims.”); Bowring v. Sapporo U.S.A., Inc., 234 F. Supp. 3d

386, 392 (E.D.N.Y. 2017) (“Plaintiff submits she may plead her unjust enrichment claim in the

alternative. Plaintiff’s unjust enrichment claim relies on the same facts as her other causes of

action in tort. Because this claim is duplicative, it is dismissed.”); Nelson v. MillerCoors, LLC,

246 F. Supp. 3d 666 (E.D.N.Y. 2017) (“[E]ven pleaded in the alternative, claims for unjust

enrichment will not survive a motion to dismiss where plaintiffs fail to explain how their unjust

enrichment claim is not merely duplicative of their other causes of action.”). Indeed, in Gordon,

the court noted that “plaintiff’s unjust enrichment claim incorporates all allegations in the

preceding paragraphs of the [complaint]” and “stems from . . . the very same conduct underlying

her other claims” and, thus, “[t]o the extent [plaintiff’s other] claims succeed, the unjust

enrichment claim is duplicative; if plaintiff[’s] other claims are defective, an unjust enrichment

claim cannot remedy the defects.” 2017 WL 213815, at *7. The defendant in Padovano never

raised this argument (see generally Padovano, Dkt. Nos. 3, 3-22, 13) so this Court did not

address it. But here, it applies in full force. In fact, just as in Gordon, Plaintiffs’ unjust

enrichment claim purports to “incorporate[]” the Amended Complaint’s preceding paragraphs

and is based on the exact same alleged underlying conduct as are their other claims. See Am.

Compl. ¶¶ 53-57.



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        Second, the rule that an unjust enrichment cause of action may be pled in the alternative

does not apply where, as here, a plaintiff fails to challenge the validity of the contract at

issue. Kamdem-Ouaffo v. Pepsico, Inc., No. 14-CV-227 KMK, 2015 WL 1011816, at *13

(S.D.N.Y. Mar. 9, 2015) (“[W]here a plaintiff, as here, fails to challenge the validity of a contract

that governs the subject matter at issue, and instead alleges breach of said otherwise enforceable

contract, under New York law he or she cannot plead unjust enrichment in the alternative.”);

Anthem, Inc. v. Express Scripts, Inc., No. 16 CIV. 2048 (ER), 2017 WL 1134765, at *5

(S.D.N.Y. Mar. 23, 2017) (“[A] claim for unjust enrichment may only survive as an alternative

theory of liability when the existence of the contract is in dispute.” (citation omitted)); Beare v.

Millington, No. 07-CV-3391 TLM, 2014 WL 1236750, at *6 (E.D.N.Y. Mar. 25, 2014), aff’d

sub nom. Harris v. Millington, 613 F. App’x 56 (2d Cir. 2015) (“[A] plaintiff’s failure to allege

that the contracts at issue are invalid or unenforceable precludes it . . . from seeking quasi-

contractual recovery for events arising out of the same subject matter.” (citation omitted)). Here,

Plaintiffs do not dispute the existence or validity of their contract with HDL; rather, they

effectively allege that HDL (and, via its alleged joint employment status, Sears) breached that

contract.

        In sum, Plaintiffs’ unjust enrichment claim must be dismissed because (a) it is wholly

derivative of their statutory claims, which fail, and, alternatively, (b) the requirements to plead an

unjust enrichment claim in the alternative are not met here.

III.    CONCLUSION

        For the reasons set forth above and in Sears’s Opening Brief, Sears respectfully requests

that this Court enter an order dismissing, with prejudice, all claims in Plaintiffs’ Amended

Complaint directed at Sears. Sears does not concede that the claims against HDL are viable, but

instead defers to HDL to address them.

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Dated: September 29, 2017         Respectfully submitted,

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